           Case 1:02-cv-01078-VJW Document 174 Filed 08/02/21 Page 1 of 1




               In the United States Court of Federal Claims
                                          No. 02-1078L
                                     (Filed: August 2, 2021)




ERIKA BAILEY-JOHNSON

               Plaintiff

       v                                                                            JUDGMENT

THE UNITED STATES

               Defendant

       Pursuant to the court’s Order, filed July 30, 2021, granting defendant’s motion to dismiss,

        IT IS ORDERED AND ADJUDGED this date, judgment entered, pursuant to Rule 58,
that plaintiff’s complaint is dismissed for lack of subject-matter jurisdiction. No costs are
awarded.



                                                     Lisa L. Reyes
                                                     Clerk of Court

                                                 By: s/ Anthony Curry

                                                     Deputy Clerk




NOTE: As to appeal to the United States Court of Appeals for the Federal Circuit, 60 days from
this date, see RCFC 58.1, re number of copies and listing of all plaintiffs. Filing fee is $505.00.
